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                  UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                         STATE SBORO DIVISION

TELLAS LEVALLAS KENNEDY,

      Movant,

V.                                                  Case No. CV615-116
                                                             CR6 12-018
UNITED STATES OF AMERICA,

      Respondent.

                  REPORT AND RECOMMENDATION

      Convicted of conspiracy to distribute a controlled substance, Tellas

Kennedy moves under 28 U.S.C. § 2255 to vacate his sentence and guilty

plea. Doc. 1160.1 Preliminary review under Rule 4 of the Rules

Governing Section 2255 Proceedings shows that his motion must be

denied.

      Kennedy first pleads ineffective assistance of counsel ("IAC"),

arguing that his attorney' shouldn't have allowed him to enter an

"unknowing guilty plea." Doc. 1160 at 5. Counsel, he says, "failed to

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  All citations are to the criminal docket unless otherwise noted, and all page
numbers are those imprinted by the Court's docketing software.
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  Kennedy, employed prior to his arrest as a mechanic making $26.50 per hour (doe.
1089 at 8), retained attorney Joseph Phelps to represent him. Id. at 13; doe. 1160 at
11.
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explain the full consequences of the plea agreement waiver such as

foreclosing retroactively applicable Supreme Court rules from applying,

etc." Id.

      Next, Kennedy alleges that "[t]rial counsel failed to introduce

evidence at sentencing which would have likely lowered the sentence,"

namely "witnesses who would have established that he was simply a

buyer [but] not part of any conspiracy." Doc. 1160 at 6. Ground three

sees the prosecutor come in for criticism, in particular her pattern of

"permit[ing] agents to introduce evidence that was either unreliable or

fabricated in order to increase the drug quantity."      Id. at 8. Finally,

Kennedy claims that "a retroactive [Sentencing] Guidelines Amendment

shows [that his] sentence is contrary to U.S. law." Id. at 9.

      Grounds 2-4 fall because of § 2255's heightened pleading standards.

Under those, Kennedy's "allegations must be factual and specific, not

conclusory. Conclusory allegations are simply not enough to warrant a

hearing." Chavez v. Sec'y Fla. Dept of Corr., 647 F.3d 1057, 1061 (11th

Cir. 2011); see also Borden v. Allen, 646 F.3d 785, 810 (11th Cir. 2011)

(applying a heightened pleading requirement in habeas cases and noting

that "[t]he evidence supporting an [JAG] claim is available following the


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conviction, if not before. Whatever the claim, though, the petitioner is,

or should be, aware of the evidence to support the claim before bringing

his petition."); Gerwald v. United States, 2014 WL 1681506 at * 3 n. 5

(S.D.Ga. Apr. 28, 2014). Thus, § 2255 petitioners:

  cannot simply laundry-list their claims and hope that the court will
  develop (hence, litigate) them on their behalf. Holmes v. United
  States, 876 F.2d 1545 2 1553 (11th Cir. 1989) (no hearing required
  on claims "which are based on unsupported generalizations");
  Rodriguez v. United States, 473 F.2d 1042, 1043 (5th Cir. 1973)
  "(no hearing required where petitioner alleged no facts to establish
  truth of his claims beyond bare conclusory allegations)." Jeffcoat v.
  Brown, 2014 WL 1319369 at * 8 (S.D. Ga. Mar. 27, 2014); Bartley v.
  United States, 2013 WL 6234694 at * 2-3 (S.D. Ga. Dec. 2, 2013) (
  2255 claims bereft of argument and citation to the record may be
  denied on pleading-deficiency grounds alone); see also Johnson v.
  Razdan, [564 F. App'x 481, 484 (11th Cir. 2014)] ("Although pro se
  briefs are to be construed liberally, a pro se litigant who offers no
  substantive argument on an issue in his initial brief abandons that
  issue on appeal.").

Robinson v. United States, 2015 WL 9467508 at * 2 (S.D. Ga. Nov. 16,

2015) (quoting Riggs v. Warden, Ware State Prison, 2015 WL 2342056 at

* 3 n. 7 (S.D. Ga. May 13, 2015)).

     Grounds 2-4 come nowhere near satisfying that standard here

because all three contain nothing but legal conclusions without factual

support. Ground 2, for example, alleges that Phelps failed to call

exculpatory witnesses, but Kennedy never even mentions who those


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witnesses are. Ground 3 similarly doesn't mention what drug quantity

evidence agents allegedly fabricated, even though Kennedy certainly

knows what testimony or evidence he contends is false. Capping off the

parade of conclusions, Ground 4 fails to even list the Guidelines

amendment Kennedy contends makes his sentence "contrary to U.S.

law" (nevermind that the Guidelines are advisory only).

     As noted above, it isn't the Court's responsibility to discover facts

and develop claims for Kennedy.

  [A]ll of these principles of law would mean nothing if district courts
  were required to mine the record, prospecting for facts that the
  habeas petitioner overlooked and could have, but did not, bring to
  the surface in his petition. Making district courts dig through
  volumes of documents and transcripts would shift the burden of
  sifting from petitioners to the courts. With a typically heavy
  caseload and always limited resources, a district court cannot be
  expected to do a petitioner's work for him. Cf. Adler v. Duval Cnty.
  Sch. Bd., 112 F.3d 1475 1 1481 n. 12 (11th Cir. 1997) (noting in a
  civil case that, absent plain error, "it is not our place as an
  appellate court to second guess the litigants before us and grant
  them relief ... based on facts they did not relate."); Johnson v. City
  of Fort Lauderdale, 126 F.3d 1372, 1373 (11th Cir. 1997) ("[W]e are
  not obligated to cull the record ourselves in search of facts not
  included in the statements of fact."). The Seventh Circuit
  memorably said that appellate judges "are not like pigs, hunting for
  truffles buried in briefs." United States v. Dunkel, 927 F.2d 955,
  956 (7th Cir. 1991).

Chavez v. Sec'y, Fla. Dept of Corr., 647 F.3d 1057, 1061 (11th Cir. 2011).



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     Kennedy's IAC claim (the only one not so conclusory that it fails

outright) contains some facts (i.e., Phelps allegedly failed to explain the

appeal waiver in his plea agreement), but nevertheless dies because it

stands diametrically opposed to his sworn plea hearing statements. "[A]

prisoner has everything to gain and nothing to lose from filing a

collateral attack upon his guilty plea. . . . [Consequently,] the

representations of the defendant, his lawyer, and the prosecutor at [a

plea] hearing, as well as any findings made by the judge accepting the

plea, constitute a formidable barrier in any subsequent collateral

proceedings."   Winthrop-Redin v. United States, 767 F.3d 1210, 1216

(11th Cir. 2014) (quoting Blackledge v. Allison, 431 U.S. 63, 71-74

(1977)). Indeed, if the record includes a plea hearing transcript, a § 2255

movant will be entitled to an evidentiary hearing "only in the most

extraordinary of circumstances." Id.

     When told by the Court that pleading guilty would eliminate his

"right to complain on appeal about what has occurred in this case ...

[including] the way that [his] lawyer ha[d] dealt with [him]," Kennedy

stated that he had no complaints and understood what he was giving up.

Doc. 1089 at 19. He agreed with Phelps that they deliberated over and


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discussed the plea agreement, that counsel investigated and interviewed

witnesses to Kennedy's satisfaction, and that Phelps had not forced him

to plead guilty. Id. at 21. When asked directly whether he was satisfied

with Phelps' representation, Kennedy stated unequivocally "[yes], sir."

Id. at 22.

      After the prosecutor summarized the plea agreement for the

record, including that Kennedy "waive[d] his right to appeal any

sentence within the Federal Sentencing Guidelines range," he

acknowledged that matched "what [he thought he] agreed to." Doe. 1089

at 30. What's more, the Court delved deep into the right to appeal,

whether Kennedy understood the right, and, in particular, that Phelps

"explained it to [him] that [he was] giving it up." Id. at 31. In the face of

all that, the Court found that Kennedy knowingly and intelligently pled

guilty, "understands everything," and "understands the consequences of

his plea." Id. at 32-33.

      Kennedy now says that Phelps failed to explain his appeal waiver

properly. Such allegations standing alone and without any other

evidence "are insufficient to mandate an evidentiary hearing in the face

of a Rule 11 record detailing statements by the petitioner that his plea


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was" adequately explained and voluntarily signed. Winthrop-Redin, 767

F.3d at 1217 (quoting Matthews v. United States, 533 F.2d 900, 902 (5th

Cir.1976)). In such a situation, the Court "is entitled to discredit a

defendant's newly-minted story. . . when that story is supported only by

the defendant's conclusory statements." Id.

      Faced with sworn testimony in a thorough and wide-ranging plea

colloquy that he pled voluntarily and intelligently, and unsworn, self-

serving testimony to the opposite effect on collateral review (when

Kennedy has every incentive to embellish), see Winthrop-Redin, 767 F.3d

at 1216, the Court finds the plea testimony far more credible. Hence,

Kennedy's IAC claim, like his other three claims, must fail because "the

record supports the conclusion that counsel was not ineffective." Patel v.

United States, 252 F. App'x 970, 975 (11th Cir. 2007).

      Accordingly, Kennedy's § 2255 motion should be DENIED. His

motion for production of documents (doc. 1200) also is DENIED. 3


    Kennedy's production motion seeks (1) "the Government's wire tap [sic]
application to the attorney general;" (2) "the authorization signed by the attorney
general;" and (3) the court order authorizing the wiretap. Doc. 1200 at 1. He
acknowledges that the documents may be in the discovery package produced to
Phelps prior to his guilty plea, and that, pursuant to his plea agreement, the
Government has no obligation under the Freedom of Information Act to produce the
documents. See id. at 2. He claims only that "the interest of justice requires this
court to grant this motion.. . without cost to Mr. Tellas." Id.
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Applying the Certificate of Appealability (COA) standards set forth in

Brown v. United States, 2009 WL 307872 at * 1-2 (S.D. Ga. Feb.9, 2009),

the Court discerns no COA-worthy issues at this stage of the litigation,

so no COA should issue either. 28 U.S.C. § 2253(c)(1); Rule 11(a) of the

Rules Governing Habeas Corpus Cases Under 28 U.S.C. § 2255 ("The

district court must issue or deny a certificate of appealability when it

enters a final order adverse to the applicant.") (emphasis added). And, as

there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Thus, in forma pauperis status on appeal should

likewise be DENIED. 28 U.S.C. § 1915(a)(3).

      SO REPORTED AND RECOMMENDED, this                                   7     day of

January, 2016.


                                         UNITEWSTATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




   Not so. A prisoner is entitled "access to the court files of his underlying criminal
conviction[s] . . . only after he has made a showing that such files are necessary to the
resolution of an issue or issues he has presented in a non-frivolous pending collateral
proceeding." Pope v. Adams, 2015 WL 4394286 at * 2 (N.D. Ala. July 16, 2015)
(quoting Hansen v. United States, 956 F.2d 245, 248 (11th Cir. 1992)) (emphasis
added). Kennedy's § 2255 motion raises no non-frivolous issues and thus his request
for documents is DENIED.
